      Case 4:09-cr-00086-SWW Document 271 Filed 12/12/12 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                             NO. 4:09CR00086 SWW

JOSE VALDOVINOS JIMENEZ, ET AL



                                        ORDER

      Pending    before   the   Court    is   government's   motion   to   dismiss

indictment against defendants Jose Valdovinos Jimenez, Hugo Cesar Madrid

and Cosme Perez Vasquez pursuant to Rule 48(a).

      IT IS SO ORDERED that the government’s motion to dismiss the

indictment against defendants Jose Valdovinos Jimenez, Hugo Cesar Madrid

and Cosme Perez Vasquez [doc #269] be GRANTED, and the indictment pending

against defendants Jose Valdovinos Jimenez, Hugo Cesar Madrid and Cosme

Perez Vasquez is dismissed without prejudice.

      DATED this 12th day of December 2012.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
